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                                                                                     United States District Court
                                                                                       Southern District of Texas

                                                                                          ENTERED
                                                                                      September 16, 2021
                          UNITED STATES DISTRICT COURT
                                                                                       Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

PATRICK HENRY MURPHY,                           §
                                                §
         Plaintiff,                             §
VS.                                             § CIVIL ACTION NO. 4:19-CV-1106
                                                §
TDCJ EXECUTIVE DIRECTOR,                        §
BRYAN COLLIER, et al.,                          §
                                                §
         Defendants.

                                  SCHEDULING ORDER

       Pursuant to the parties’ agreement in the joint status report, Dkt. 99, the Court enters the

following deadlines:

       Dispositive motions due: October 1, 2021

       Responses to dispositive motions due: November 1, 2021

       Replies due: November 12, 2021.


              SIGNED at Houston, Texas, this 16th day of September, 2021.


                                                 ___________________________________
                                                 GEORGE C. HANKS, JR.
                                                 UNITED STATES DISTRICT JUDGE




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